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                          IN THE U.S. BANKRUPTCY COURT FOR THE
11                     WESTERN DISTRICT OF WASHINGTON AT TACOMA
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13                                                     Chapter 13
     In re
14                                                     Case No. 19-42890-MJH
                  SARAH HOOVER,
15                                                   ORDER ANNULING STAY
                                          Debtor(s). (PROPOSED)
16

17           THIS MATTER came before the Court upon the Motion of IH6 Property Washington,
18   L.P. (“IH6 Property”) to Annul Stay (the “Motion”). The Court finds that notice of the Motion
19   was given to the Debtor, the Debtor’s counsel, the Chapter 13 Trustee, the U.S. Trustee, and all
20   other parties entitled to notice, and finds that such notice was adequate, timely, and in
21   compliance with the Bankruptcy Code and Rules. The Court has reviewed the Motion and the
22   Declarations of Michael Lappano, Jeff Stenman, and John McIntosh filed in support of the
23   Motion. The Court, being fully advised, finds that good cause exists to: (1) annul the automatic
24   stay as of September 9, 2019, for the purpose of validating a trustee’s sale held on September 13,
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     ORDER ANNULING STAY - 1                                        SCHWEET LINDE & COULSON, PLLC
                                                                              575 S. MICHIGAN ST.
                                                                              SEATTLE, WA 98108
                                                                       P (206) 275-1010 F (206) 381-0101


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 1   2019 as to real property commonly known as 18205 106th Street East, Bonney Lake, WA 98391

 2   (the “Property”) and legally described as follows:

 3             LOT 3 PLAY OF CRYSTAL MEADOWS RECORDED MAY 14, 2004,
 4             UNDER RECORDING NO. 200405145003, RECORDS OF PIERCE COUNTY,
               WASHINGTON. SITUATE IN THE CITY OF BONNEY LAKE, COUNTY OF
 5             PIERCE, STATE OF WASHINGTON.

 6             Now, therefore, it is hereby

 7             ORDERED, ADJUDGED AND DECREED that the automatic stay is annulled for the

 8   purpose of validating the Trustee’s Sale held on September 13, 2019 of the Property and

 9   recording of the Trustee’s Deed; and it is further

10             ORDERED that the annulment of the automatic stay is retroactive and effective as of the

11   filing of this case on September 9, 2019; and it is further

12             ORDERED, that IH6 Property may proceed with its state law remedies in obtaining

13   possession of the Property; and it is further

14             ORDERED that this order shall apply to and be binding upon the Debtor and any trustee

15   in any subsequent bankruptcy proceeding to which this proceeding may be converted; and it is

16   further

17             ORDERED that this order is not stayed from enforcement pursuant to BR 4001.

18                                             //End of Order//

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20   Presented by:

21   SCHWEET LINDE & COULSON, PLLC

22
     _/s/John A. McIntosh__________________
23   Thomas S. Linde, WSBA #14426
     John A. McIntosh, WSBA #43113
24   Attorneys for IH6 Property Washington, L.P.
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     ORDER ANNULING STAY - 2                                          SCHWEET LINDE & COULSON, PLLC
                                                                                 575 S. MICHIGAN ST.
                                                                                 SEATTLE, WA 98108
                                                                          P (206) 275-1010 F (206) 381-0101


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